                                             APPEAL,CLOSED,PROTECTIVEORDER,TRIAL−LINCOLN
                             U.S. District Court
                      District of Nebraska (4 Lincoln)
            CIVIL DOCKET FOR CASE #: 4:21−cv−03061−SMB−RCC
                             Internal Use Only

Melendez v. City of Grand Island et al                        Date Filed: 03/11/2021
Assigned to: Judge Susan M. Bazis                             Date Terminated: 02/13/2025
Referred to: Magistrate Judge Ryan C. Carson                  Jury Demand: Plaintiff
Cause: 42:1983 Civil Rights Act                               Nature of Suit: 440 Civil Rights: Other
                                                              Jurisdiction: Federal Question
Plaintiff
Sonia Melendez                                  represented by Maren L. Chaloupka
Personal Representative of the Estate of                       CHALOUPKA LAW FIRM
Benjamin Melendez, Deceased                                    P.O. Box 1724
estate of                                                      Scottsbluff, NE 69363
Benjamin Melendez                                              308−270−5091
                                                               Fax: 308−270−5105
                                                               Email: mlc@chaloupkalaw.net
                                                               ATTORNEY TO BE NOTICED


V.
Defendant
City of Grand Island                            represented by Christopher M. Schmidt
a Nebraska political subdivision                               BAYLOR, EVNEN, WOLFE LAW FIRM
                                                               1248 O Street
                                                               Suite 900
                                                               Lincoln, NE 68508−1424
                                                               402−475−1075
                                                               Email: cschmidt@baylorevnen.com
                                                               ATTORNEY TO BE NOTICED

                                                              Randall L. Goyette
                                                              BAYLOR, EVNEN, WOLFE LAW FIRM
                                                              1248 O Street
                                                              Suite 900
                                                              Lincoln, NE 68508−1424
                                                              402−475−1075
                                                              Email: rgoyette@baylorevnen.com
                                                              ATTORNEY TO BE NOTICED

Defendant
Hall County, Nebraska
a Nebraska political subdivision
TERMINATED: 05/05/2021

Defendant

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                                                                                548823419 2025 p1
Jon Rosenlund                                         represented by Christopher M. Schmidt
in his individual and official capacity                              (See above for address)
                                                                     ATTORNEY TO BE NOTICED

                                                                       Randall L. Goyette
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

Defendant
Brandon Kelley                                        represented by Christopher M. Schmidt
911 Dispatcher #1, in his individual and                             (See above for address)
official capacity                                                    ATTORNEY TO BE NOTICED

Defendant
Grady Higgins                                         represented by Christopher M. Schmidt
911 Dispatcher #2, in her individual and                             (See above for address)
official capacity                                                    ATTORNEY TO BE NOTICED

Defendant
Does #1 − 10
in their individual and official capacities


 Date Filed                    #          Docket Text
 03/11/2021                         1     RESTRICTED COMPLAINT with jury demand against All
                                          Defendants ( Filing fee $ 402, receipt number ANEDC−4357348), by
                                          Attorney Maren L. Chaloupka on behalf of Sonia
                                          Melendez(Chaloupka, Maren) ACCESS TO THE PDF DOCUMENT
                                          IS RESTRICTED TO CASE PARTICIPANTS AND THE COURT
                                          PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 5.2(e).
                                          Modified on 4/8/2021 to add restricted language pursuant to order 7
                                          (CS). (Entered: 03/11/2021)
 03/12/2021                         2     TEXT NOTICE OF JUDGES ASSIGNED: Chief Judge John M.
                                          Gerrard and Magistrate Judge Susan M. Bazis assigned. In
                                          accordance with 28 U.S.C. 636(c)(2), the parties are notified that, if
                                          all parties consent, a magistrate judge may conduct a civil action or
                                          proceeding, including a jury or nonjury trial, subject to the courts
                                          rules and policies governing the assignment of judges in civil cases.
                                          See Fed. R. Civ. P. 73; NEGenR 1.4. (LRM) (Entered: 03/12/2021)
 03/23/2021                         3     RESTRICTED AMENDED COMPLAINT with with jury demand
                                          against Defendant All Defendants, by Attorney Maren L. Chaloupka
                                          on behalf of Sonia Melendez(Chaloupka, Maren) ACCESS TO THE
                                          PDF DOCUMENT IS RESTRICTED TO CASE PARTICIPANTS
                                          AND THE COURT PURSUANT TO FEDERAL RULE OF CIVIL
                                          PROCEDURE 5.2(e). Modified on 4/8/2021 to add restricted
                                          language pursuant to order 7 (CS). (Entered: 03/23/2021)
 04/06/2021                         4     MOTION to file under Seal by Attorney Maren L. Chaloupka on
                                          behalf of Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered:


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                                                                                      548823419 2025 p2
                               04/06/2021)
04/07/2021                 5   TEXT ORDER denying 4 Motion to Seal. Plaintiff has requested that
                               the Complaint and Amended Complaint be sealed, and that access to
                               those documents be limited to the parties and the Court. The Court
                               construes this motion as one to restrict access to the documents. The
                               motion does not, however, state a basis for the relief sought.
                               Therefore, it will be denied at this time. Counsel may file an amended
                               motion which includes the basis for relief. Ordered by Magistrate
                               Judge Susan M. Bazis. (LRH) (Entered: 04/07/2021)
04/07/2021                 6   AMENDED MOTION to Restrict Access by Attorney Maren L.
                               Chaloupka on behalf of Plaintiff Sonia Melendez.(Chaloupka, Maren)
                               (Entered: 04/07/2021)
04/07/2021                 7   TEXT ORDER granting 6 Motion to Restrict. Access to Filing Nos. 1
                               and 3 shall be restricted to case participants and the Court. Ordered by
                               Magistrate Judge Susan M. Bazis. (LRH) (Entered: 04/07/2021)
04/09/2021                 8   AMENDED COMPLAINT with with jury demand (Second
                               Amended) against Defendant All Defendants, by Attorney Maren L.
                               Chaloupka on behalf of Sonia Melendez(Chaloupka, Maren)
                               (Entered: 04/09/2021)
04/14/2021                 9   Summons Requested as to Jon Rosenlund regarding Amended
                               Complaint 8 . (Chaloupka, Maren) (Entered: 04/14/2021)
04/14/2021                10   Summons Requested as to City of Grand Island regarding Amended
                               Complaint 8 . (Chaloupka, Maren) (Entered: 04/14/2021)
04/14/2021                11   Summons Requested as to Hall County, Nebraska regarding
                               Amended Complaint 8 . (Chaloupka, Maren) (Entered: 04/14/2021)
04/15/2021                12   Summons Issued as to defendant City of Grand Island, Hall County,
                               Nebraska, Jon Rosenlund. YOU MUST PRINT YOUR ISSUED
                               SUMMONS, WHICH ARE ATTACHED TO THIS DOCUMENT.
                               PAPER COPIES WILL NOT BE MAILED. (TCL) (Entered:
                               04/15/2021)
04/30/2021                13   SUMMONS Returned Executed upon defendant City of Grand Island
                               on 4/19/2021. (Chaloupka, Maren) (Entered: 04/30/2021)
04/30/2021                14   SUMMONS Returned Executed upon defendant Hall County,
                               Nebraska on 4/17/2021. (Chaloupka, Maren) (Entered: 04/30/2021)
05/05/2021                15   SUMMONS Returned Executed upon defendant Jon Rosenlund on
                               4/22/2021. (Chaloupka, Maren) (Entered: 05/05/2021)
05/05/2021                16   MOTION to Dismiss Party Hall County, Nebraska, a Nebraska
                               political subdivision Without Prejudice by Attorney Maren L.
                               Chaloupka on behalf of Plaintiff Sonia Melendez.(Chaloupka, Maren)
                               (Entered: 05/05/2021)
05/05/2021                17   TEXT ORDER granting 16 Motion to Dismiss Party. Hall County,
                               Nebraska (a Nebraska political subdivision) is dismissed without
                               prejudice and terminated as a party. Ordered by Chief Judge John M.


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                                                                           548823419 2025 p3
                               Gerrard. (DCD) (Entered: 05/05/2021)
05/10/2021                18   ANSWER to Amended Complaint 8 (Second Amended) by City of
                               Grand Island, Jon Rosenlund (Schmidt, Christopher) (Entered:
                               05/10/2021)
05/11/2021                19   RESTRICTED TELEPHONE CONFERENCE INSTRUCTIONS
                               AND ORDER. ACCESS TO THE PDF DOCUMENT IS
                               RESTRICTED TO CASE PARTICIPANTS AND THE COURT
                               PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 5.2(e).
                               Ordered by Magistrate Judge Susan M. Bazis. (RMW) (Entered:
                               05/11/2021)
05/11/2021                20   SCHEDULING ORDER − Rule 26 Meeting Report Deadline set for
                               6/11/2021. Ordered by Magistrate Judge Susan M. Bazis. (LKO)
                               (Entered: 05/11/2021)
06/11/2021                21   Certificate of Service for Defendants Rule 26a1 Disclosures by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Jon Rosenlund.(Schmidt, Christopher) (Entered:
                               06/11/2021)
06/11/2021                22   REPORT of Rule 26(f) Planning Meeting by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 06/11/2021)
06/15/2021                23   TEXT ORDER: As requested by the parties in their Rule 26(f) Report
                               22 , a Planning Conference to discuss case progression will be held on
                               6/29/2021 at 11:00 AM by telephone before Magistrate Judge Susan
                               M. Bazis. Telephone conference instructions are found at 19 .
                               Ordered by Magistrate Judge Susan M. Bazis. (RMW) (Entered:
                               06/15/2021)
06/28/2021                24   TEXT ORDER: Upon the request of counsel, the planning conference
                               presently scheduled for 6/29/21 at 11:00 a.m. is canceled. Ordered by
                               Magistrate Judge Susan M. Bazis. (RMW) (Entered: 06/28/2021)
06/28/2021                25   FINAL PROGRESSION ORDER − Depositions due August 1, 2022.
                               Status Conference set for 6/2/2022 at 01:00 PM by Telephone before
                               Magistrate Judge Susan M. Bazis. Counsel shall use the conferencing
                               instructions assigned to this case to participate in the
                               conference.Ordered by Magistrate Judge Susan M. Bazis. (LAC)
                               (Entered: 06/28/2021)
08/26/2021                26   Certificate of Service for Defendants Answers and Objections to
                               Interrogatories and Responses to Requests for Production of
                               Documents by Attorney Christopher M. Schmidt on behalf of
                               Defendants City of Grand Island, Jon Rosenlund.(Schmidt,
                               Christopher) (Entered: 08/26/2021)
08/26/2021                27   MOTION for Protective Order by Attorney Christopher M. Schmidt
                               on behalf of Defendants City of Grand Island, Jon Rosenlund.
                               (Attachments:
                               # 1 Text of Proposed Order Proposed Protective Order)(Schmidt,
                               Christopher) (Entered: 08/26/2021)


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09/08/2021                28   BRIEF in opposition to MOTION for Protective Order 27 by
                               Attorney Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 09/08/2021)
09/14/2021                29   BRIEF in support of MOTION for Protective Order 27 by Attorney
                               Christopher M. Schmidt on behalf of Defendants City of Grand
                               Island, Jon Rosenlund.(Schmidt, Christopher) (Entered: 09/14/2021)
09/14/2021                30   INDEX in support of Brief 29 , MOTION for Protective Order 27 by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Jon Rosenlund. (Attachments:
                               # 1 Affidavit Declaration Christopher Schmidt)(Schmidt,
                               Christopher) (Entered: 09/14/2021)
10/21/2021                31   ORDER − that Defendants' Motion for Protective Order (Filing No.
                               27 ) is granted. The Court will enter the proposed protective order
                               submitted by Defendants (Filing No. 27−1) by separate order.
                               Ordered by Magistrate Judge Susan M. Bazis. (LKO) (Entered:
                               10/21/2021)
10/22/2021                32   PROTECTIVE ORDER − Upon consideration of the request for entry
                               of a Protective Order, (Filing No. 27 ) the Court enters the following
                               Protective Order governing the disclosure of confidential Discovery
                               Material by a Producing Party to a Receiving Party in this Action.
                               Ordered by Magistrate Judge Susan M. Bazis. (LKO) (Entered:
                               10/22/2021)
10/27/2021                33   Certificate of Service for Defendants First Set of Supplemental
                               Responses to Requests for Production of Documents by Attorney
                               Christopher M. Schmidt on behalf of Defendants City of Grand
                               Island, Jon Rosenlund.(Schmidt, Christopher) (Entered: 10/27/2021)
02/28/2022                34   Certificate of Service for Defendant City of Grand Island's First Set of
                               Interrogatories to the Plaintiff, Defendant Rosenlund's First Set of
                               Interrogatories to the Plaintiff, and Defendants First Set of Requests
                               for Production of Documents to the Plaintiff by Attorney Christopher
                               M. Schmidt on behalf of Defendants City of Grand Island, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 02/28/2022)
03/10/2022                35   UNOPPOSED MOTION to Amend Progression Order by Attorney
                               Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 03/10/2022)
03/17/2022                36   AMENDED FINAL PROGRESSION ORDER − The trial and
                               pretrial conference will not be set at this time. The status conference
                               presently scheduled for June 2, 2022, is canceled. A status conference
                               to discuss case progression, the parties' interest in settlement, and the
                               trial and pretrial conference settings will be held with the undersigned
                               magistrate judge by telephone on August 23, 2022 at 1:00 p.m.
                               Counsel shall use the conferencing instructions assigned to this case
                               to participate in the conference. (Filing No. 19 .) The deposition
                               deadline, including but not limited to depositions for oral testimony
                               only under Rule 45, is November 1, 2022. Ordered by Magistrate
                               Judge Susan M. Bazis. (LKO) (Entered: 03/17/2022)


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03/17/2022                37   TEXT NOTICE of Hearing regarding Amended Final Progression
                               Order 36 . Status Conference set for 8/23/2022 at 01:00 PM by
                               Telephone before Magistrate Judge Susan M. Bazis. (LKO) (Entered:
                               03/17/2022)
05/27/2022                38   Certificate of Service for Defendants Responses to Requests for
                               Production of Documents (Second Set) by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 05/27/2022)
06/30/2022                39   UNOPPOSED MOTION to Amend Progression Order by Attorney
                               Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 06/30/2022)
07/01/2022                40   SECOND AMENDED FINAL PROGRESSION ORDER The trial
                               and pretrial conference will not be set at this time. The status
                               conference presently scheduled for August 23, 2022, is canceled. A
                               status conference to discuss case progression, the parties' interest
                               in settlement, and the trial and pretrial conference settings will be
                               held with the undersigned magistrate judge by telephone on
                               December 1, 2022 at 3:00 p.m. Counsel shall use the conferencing
                               instructions assigned to this case to participate in the conference.
                               (Filing No. 19 .) Ordered by Magistrate Judge Susan M. Bazis.
                               (LRM) (Entered: 07/01/2022)
07/01/2022                41   TEXT NOTICE of Hearing regarding Second Amended Final
                               Progression Order 40 . Status Conference set for 12/1/2022 at 03:00
                               PM by Telephone before Magistrate Judge Susan M. Bazis. (LRM)
                               (Entered: 07/01/2022)
08/25/2022                42   Certificate of Service for Defendants Second Set of Supplemental
                               Responses to Requests for Production of Documents by Attorney
                               Christopher M. Schmidt on behalf of Defendants City of Grand
                               Island, Jon Rosenlund.(Schmidt, Christopher) (Entered: 08/25/2022)
09/06/2022                43   Certificate of Service for Defendants Supplemental Rule 26a1
                               Disclosures by Attorney Christopher M. Schmidt on behalf of
                               Defendants City of Grand Island, Jon Rosenlund.(Schmidt,
                               Christopher) (Entered: 09/06/2022)
09/22/2022                44   MOTION for Leave to Identify Disptachers ##1 and 2 by Attorney
                               Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 09/22/2022)
09/26/2022                45   TEXT ORDER granting 44 Motion for Leave to Identify Dispatchers
                               #1 and #2. The Clerk of Court shall modify the docket sheet to
                               identify Dispatcher #1 as Brandon Kelley and Dispatcher #2 as Grady
                               Higgins. Ordered by Magistrate Judge Susan M. Bazis. (LRH)
                               (Entered: 09/26/2022)
10/07/2022                46   Certificate of Service for Defendants Responses to Plaintiff's Second
                               Requests for Production of Documents by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 10/07/2022)



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10/10/2022                47   MOTION to Amend Order of Case Progression by Attorney Maren
                               L. Chaloupka on behalf of Plaintiff Sonia Melendez.(Chaloupka,
                               Maren) (Entered: 10/10/2022)
10/12/2022                48   THIRD AMENDED FINAL PROGRESSION ORDER This matter is
                               before the Court on Plaintiff's Motion to Amend Progression Order.
                               The motion is granted. A status conference to discuss case
                               progression, the parties' interest in settlement, and the trial and
                               pretrial conference settings will be held with the undersigned
                               magistrate judge by telephone on July 3, 2023, at 10:00 a.m. Counsel
                               shall use the conferencing instructions assigned to this case to
                               participate in the conference. (Filing No. 19 .) Ordered by Magistrate
                               Judge Susan M. Bazis. (LRM) (Entered: 10/12/2022)
10/12/2022                49   TEXT NOTICE of Hearing regarding Order on Motion to Amend 48 .
                               Status Conference set for 7/3/2023 at 10:00 AM by Telephone before
                               Magistrate Judge Susan M. Bazis. (LRM) (Entered: 10/12/2022)
11/01/2022                50   ANSWER to Amended Complaint 8 by Grady Higgins, Brandon
                               Kelley (Schmidt, Christopher) (Entered: 11/01/2022)
11/17/2022                51   Certificate of Service for Defendants Second Set of Supplemental Rule
                               26a1 Disclosures by Attorney Christopher M. Schmidt on behalf of
                               Defendants City of Grand Island, Grady Higgins, Brandon Kelley,
                               Jon Rosenlund.(Schmidt, Christopher) (Entered: 11/17/2022)
12/05/2022                52   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 12/05/2022)
12/21/2022                53   Certificate of Service for Defendants Responses to Plaintiff's Third
                               Set of Requests for Production of Documents by Attorney Christopher
                               M. Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund.(Schmidt, Christopher)
                               (Entered: 12/21/2022)
01/11/2023                54   Certificate of Service for Defendants Answers to Plaintiff's 4th Set of
                               Interrogatories and Responses to Plaintiff's 4th Set of Requests for
                               Production of Documents by Attorney Christopher M. Schmidt on
                               behalf of Defendants City of Grand Island, Grady Higgins, Brandon
                               Kelley, Jon Rosenlund.(Schmidt, Christopher) (Entered: 01/11/2023)
01/27/2023                55   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 01/27/2023)
01/30/2023                56   NOTICE of UPDATED INFORMATION by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund (Schmidt, Christopher)
                               (Entered: 01/30/2023)
02/20/2023                57   NOTICE to Take Deposition of Sonia Melendez by Attorney
                               Christopher M. Schmidt on behalf of Defendants City of Grand
                               Island, Grady Higgins, Brandon Kelley, Jon Rosenlund (Schmidt,
                               Christopher) (Entered: 02/20/2023)
02/27/2023                58   Certificate of Service for Defendants Responses to Plaintiff's 5th Set
                               of Requests for Production of Documents and Defendants'

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                               Supplemental Answers to Plaintiff's First Set of Interrogatories by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Grady Higgins, Brandon Kelley, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 02/27/2023)
03/01/2023                59   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 03/01/2023)
04/04/2023                60   Certificate of Service for Defendants Responses to Plaintiff's 6th Set
                               of Interrogatories and Requests for Production of Documents by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Grady Higgins, Brandon Kelley, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 04/04/2023)
04/04/2023                61   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 04/04/2023)
04/04/2023                62   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 04/04/2023)
04/07/2023                63   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 04/07/2023)
04/28/2023                64   Certificate of Service of Defendant's Identification of Experts by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Grady Higgins, Brandon Kelley, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 04/28/2023)
04/30/2023                65   Certificate of Service by Attorney Maren L. Chaloupka on behalf of
                               Plaintiff Sonia Melendez.(Chaloupka, Maren) (Entered: 04/30/2023)
05/04/2023                66   Certificate of Service of Defendants Responses to Plaintiff's 7th Set of
                               Requests for Production and Supplemental Responses to Plaintiff's
                               5th Set of Requests for Production by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund.(Schmidt, Christopher)
                               (Entered: 05/04/2023)
06/28/2023                67   TEXT ORDER: Due to the closure of the Courts on Monday, July 3,
                               2023, the Status Conference in this case is rescheduled and will be
                               held on 7/5/2023 at 03:00 PM by telephone before Magistrate Judge
                               Susan M. Bazis. Telephone conference instructions are found at 19 .
                               Ordered by Magistrate Judge Susan M. Bazis. (RMW) (Entered:
                               06/28/2023)
07/05/2023                68   TEXT MINUTE ENTRY for proceedings held before Magistrate
                               Judge Susan M. Bazis. Status Conference held on 7/5/2023. Within
                               10 days, Defendants shall provide Plaintiff with a summary of facts
                               and opinions as to Jon Rosenlund as required by Federal Rule of Civil
                               Procedure 26, or notify Plaintiff that Jon Rosenlund will not be called
                               to testify as a non−retained expert. The pretrial conference and trial
                               will be set by separate order. Ordered by Magistrate Judge Susan M.
                               Bazis. (RMW) (Entered: 07/05/2023)
07/06/2023                69   RESTRICTED VIDEO CONFERENCE INSTRUCTIONS AND
                               ORDER. ACCESS TO THE PDF DOCUMENT IS RESTRICTED

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                                                                           548823419 2025 p8
                               TO CASE PARTICIPANTS AND THE COURT PURSUANT TO
                               FEDERAL RULE OF CIVIL PROCEDURE 5.2(e). Ordered by
                               Magistrate Judge Susan M. Bazis. (RMW) (Entered: 07/06/2023)
07/06/2023                70   TRIAL SETTING ORDER − The jury trial of this case is set to
                               commence before John M. Gerrard, United States District Judge, in
                               Courtroom 1, United States Courthouse, Lincoln, Nebraska, at 9:00
                               a.m. on February 5, 2024, or as soon thereafter as the case may be
                               called, for a duration of five (5) trial days. This case is subject to the
                               prior trial of criminal cases and such other civil cases as may be
                               scheduled for trial before this one. Jury selection will be held at the
                               commencement of trial. The Final Pretrial Conference is scheduled to
                               be held before the undersigned magistrate judge on January 11, 2024
                               at 10:00 a.m., and will be conducted by video conferencing. Video
                               conference instructions are found at (Filing No. 69 ). The parties'
                               proposed Pretrial Conference Order and Exhibit List(s) must be
                               emailed to bazis@ned.uscourts.gov in Word format, by 12:00 p.m. on
                               January 4, 2024. Ordered by Magistrate Judge Susan M. Bazis.
                               (LKO) (Entered: 07/06/2023)
07/26/2023                71   UNOPPOSED MOTION to Continue Deadline for Filing Motions to
                               Exclude Testimony on Daubert and Related Grounds by Attorney
                               Christopher M. Schmidt on behalf of Defendants City of Grand
                               Island, Grady Higgins, Brandon Kelley, Jon Rosenlund.(Schmidt,
                               Christopher) (Entered: 07/26/2023)
07/27/2023                72   MOTION for Summary Judgment by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund.(Schmidt, Christopher)
                               (Entered: 07/27/2023)
07/27/2023                73   STATEMENT regarding: MOTION for Summary Judgment 72
                               (Defendants' Annotated Statement of Undisputed Facts in Support of
                               their Motion for Summary Judgment) by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund.(Schmidt, Christopher)
                               (Entered: 07/27/2023)
07/27/2023                74   BRIEF in support of MOTION for Summary Judgment 72 by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Grady Higgins, Brandon Kelley, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 07/27/2023)
07/27/2023                75   INDEX in support of MOTION for Summary Judgment 72 ,
                               Statement, 73 , Brief 74 by Attorney Christopher M. Schmidt on
                               behalf of Defendants City of Grand Island, Grady Higgins, Brandon
                               Kelley, Jon Rosenlund. (Attachments:
                               # 1 Affidavit Jon Rosenlund,
                               # 2 Affidavit Brandon Kelley,
                               # 3 Affidavit Christopher Schmidt,
                               # 4 Affidavit Captain Dean Elliott)(Schmidt, Christopher) (Entered:
                               07/27/2023)
07/27/2023                76


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                                                                           548823419 2025 p9
                               ATTACHMENT − CONTINUED (Attachment No. 2) regarding
                               Index, 75 . (Deposition of Rick Ehlers) by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund. (Attachments:
                               # 1 Exhibit Deposition of Grady Higgins,
                               # 2 Exhibit Deposition of Brandon Kelley,
                               # 3 Exhibit Deposition of Vicki Kissler,
                               # 4 Exhibit Deposition of Sonia Melendez,
                               # 5 Exhibit Deposition of Larry Smith,
                               # 6 Exhibit Deposition of Anna Sorensen)(Schmidt, Christopher)
                               (Entered: 07/27/2023)
07/27/2023                77   ATTACHMENT − CONTINUED (Attachment No. 3) regarding
                               Index, 75 . (Deposition Exhibit 2) by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund. (Attachments:
                               # 1 Exhibit Deposition Exhibit 3,
                               # 2 Exhibit Deposition Exhibit 4,
                               # 3 Exhibit Deposition Exhibit 5,
                               # 4 Exhibit Deposition Exhibit 7,
                               # 5 Exhibit Deposition Exhibit 8 (Part 1 of 2),
                               # 6 Exhibit Deposition Exhibit 8 (Part 2 of 2),
                               # 7 Exhibit Deposition Exhibit 11,
                               # 8 Exhibit Deposition Exhibit 12,
                               # 9 Exhibit Deposition Exhibit 16)(Schmidt, Christopher) (Entered:
                               07/27/2023)
07/27/2023                78   ATTACHMENT − CONTINUED (Attachment No. 4) regarding
                               Index, 75 . (Deposition Exhibit 17) by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund. (Attachments:
                               # 1 Exhibit Deposition Exhibit 18,
                               # 2 Exhibit Deposition Exhibit 19,
                               # 3 Exhibit Deposition Exhibit 20,
                               # 4 Exhibit Deposition Exhibit 21,
                               # 5 Exhibit Deposition Exhibit 22,
                               # 6 Exhibit Deposition Exhibit 23,
                               # 7 Exhibit Deposition Exhibit 25,
                               # 8 Exhibit Deposition Exhibit 26,
                               # 9 Exhibit Deposition Exhibit 29,
                               # 10 Exhibit Deposition Exhibit 30,
                               # 11 Exhibit Deposition Exhibit 31,
                               # 12 Exhibit Deposition Exhibit 37)(Schmidt, Christopher) (Entered:
                               07/27/2023)
07/27/2023                79   ATTACHMENT − CONTINUED (Attachment No. 5) regarding
                               Index, 75 . (Deposition Exhibit 39) by Attorney Christopher M.
                               Schmidt on behalf of Defendants City of Grand Island, Grady
                               Higgins, Brandon Kelley, Jon Rosenlund. (Attachments:
                               # 1 Exhibit Deposition Exhibit 40,
                               # 2 Exhibit Deposition Exhibit 42,
                               # 3 Exhibit Deposition Exhibit 43,
                               # 4 Exhibit Deposition Exhibit 200,

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                               # 5 Exhibit Deposition Exhibit 201,
                               # 6 Exhibit Deposition Exhibit 202,
                               # 7 Exhibit Deposition Exhibit 204)(Schmidt, Christopher) (Entered:
                               07/27/2023)
07/27/2023                     ATTACHMENT USB DRIVE MAINTAINED IN CLERK'S
                               OFFICE (Attachment No. 75) regarding Index 75 . (LKO) (Entered:
                               07/27/2023)
07/28/2023                80   TEXT ORDER granting 71 Motion to Continue. The deadline for
                               motions to exclude testimony on Daubert and related grounds is 14
                               days after the Court's order deciding the motion for summary
                               judgment, or 28 days before trial, whichever date is earlier. Ordered
                               by Magistrate Judge Susan M. Bazis. (LRH) (Entered: 07/28/2023)
08/18/2023                81   UNOPPOSED MOTION for Enlargement of Time by Attorney
                               Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 08/18/2023)
08/18/2023                82   TEXT ORDER granting 81 Motion to Extend. The plaintiff may
                               respond to the defendants' motion for summary judgment 72 on or
                               before September 5, 2023. The defendants may reply in support of
                               their motion on or before September 19, 2023. Ordered by Senior
                               Judge John M. Gerrard. (DCD) (Entered: 08/18/2023)
09/05/2023                83   UNOPPOSED MOTION for Enlargement of Time by Attorney
                               Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 09/05/2023)
09/05/2023                84   TEXT ORDER granting 83 Motion to Extend. The plaintiff may
                               respond to the defendants' motion for summary judgment 72 on or
                               before September 11, 2023. The defendants may reply in support of
                               their motion on or before September 25, 2023. Ordered by Senior
                               Judge John M. Gerrard. (DCD) Ordered by Senior Judge John M.
                               Gerrard. (DCD) (Entered: 09/05/2023)
09/11/2023                85   BRIEF in opposition to MOTION for Summary Judgment 72 by
                               Attorney Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 09/11/2023)
09/11/2023                86   RESPONSE regarding Statement, 73 − PLAINTIFF'S RESPONSE
                               TO DEFENDANTS' STATEMENT OF UNDISPUTED FACTS (sic)
                               by Attorney Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 09/11/2023)
09/11/2023                87   STATEMENT OF ADDITIONAL MATERIAL FACTS by Attorney
                               Maren L. Chaloupka on behalf of Plaintiff Sonia
                               Melendez.(Chaloupka, Maren) (Entered: 09/11/2023)
09/11/2023                88   INDEX in opposition to MOTION for Summary Judgment 72 by
                               Attorney Maren L. Chaloupka on behalf of Plaintiff Sonia Melendez.
                               (Attachments:
                               # 1 Exhibit,
                               # 2 Exhibit,
                               # 3 Exhibit,


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                               # 4 Exhibit)(Chaloupka, Maren) (Entered: 09/11/2023)
09/25/2023                89   REPLY BRIEF in support of MOTION for Summary Judgment 72 by
                               Attorney Christopher M. Schmidt on behalf of Defendants City of
                               Grand Island, Grady Higgins, Brandon Kelley, Jon
                               Rosenlund.(Schmidt, Christopher) (Entered: 09/25/2023)
09/25/2023                90   RESPONSE regarding Statement 87 (Defendants' Response to
                               Plaintiff's Statement of Additional Material Facts) by Attorney
                               Christopher M. Schmidt on behalf of Defendants City of Grand
                               Island, Grady Higgins, Brandon Kelley, Jon Rosenlund.(Schmidt,
                               Christopher) (Entered: 09/25/2023)
12/21/2023                91   JOINT MOTION to Stay (Stipulation and Joint Motion to
                               Stay/Continue Deadlines) by Attorney Christopher M. Schmidt on
                               behalf of Defendants City of Grand Island, Grady Higgins, Brandon
                               Kelley, Jon Rosenlund.(Schmidt, Christopher) (Entered: 12/21/2023)
12/22/2023                92   TEXT ORDER granting 91 Joint Motion to Stay/Continue Deadlines.
                               All existing and remaining deadlines identified in the Court's Trial
                               Setting Order 70 are stayed. The pretrial conference and trial are
                               canceled. The deadlines, pretrial conference, and trial will be reset
                               following a ruling on the Motion for Summary Judgment 72 . If
                               summary judgment is not granted, the parties shall contact the
                               undersigned's chambers within 14 days of the ruling to reset
                               deadlines.Ordered by Magistrate Judge Susan M. Bazis. (LRH)
                               (Entered: 12/22/2023)
04/11/2024                93   GENERAL ORDER 2024−03 − Following Magistrate Judge Susan
                               M. Bazis's appointment as a United States District Judge on April 10,
                               2024, this case is reassigned to Magistrate Judge Michael D. Nelson
                               as set forth in this order. Ordered by Chief Judge Robert F. Rossiter,
                               Jr.. (LKO) (Entered: 04/11/2024)
05/07/2024                94   REASSIGNMENT ORDER (TEXT ONLY) − Following Susan M.
                               Bazis's appointment as a United States District Judge on April 10,
                               2024, and in the interest of judicial economy, a randomly selected
                               portion of Judge Gerrard's, Judge Rossiter's, and Judge Buescher's
                               civil cases will be reassigned to Judge Bazis for disposition.
                               Accordingly, this case is reassigned to Judge Bazis for disposition and
                               remains assigned to the magistrate judge on the case for judicial
                               supervision and processing of all pretrial matters. Ordered by Chief
                               Judge Robert F. Rossiter, Jr. (LKO) (Entered: 05/07/2024)
11/12/2024                95   REASSIGNMENT ORDER (TEXT ONLY) − Following Magistrate
                               Judge Ryan C. Carson's swearing in as a United States Magistrate
                               Judge on November 1, 2024, and in the interest of judicial economy,
                               this case is reassigned to Magistrate Judge Ryan C. Carson for
                               judicial supervision and processing of all pretrial matters. Ordered by
                               Chief Judge Robert F. Rossiter, Jr. (TJM) (Entered: 11/12/2024)
02/13/2025                96   MEMORANDUM AND ORDER Defendants' Motion for Summary
                               Judgment (Filing No. 72 ) is granted. Judgment will be entered by a
                               separate order. Ordered by Judge Susan M. Bazis. (LRM) (Entered:
                               02/13/2025)

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02/13/2025                97   JUDGMENT In accordance with the Memorandum and Order entered
                               on today's date, judgment is hereby entered in favor of Defendants
                               and against Plaintiff. This case is dismissed with prejudice. Ordered
                               by Judge Susan M. Bazis. (LRM) (Entered: 02/13/2025)
02/18/2025                98   NOTICE OF APPEAL regarding Order on Motion for Summary
                               Judgment 96 , Judgment 97 by Attorney Maren L. Chaloupka on
                               behalf of Plaintiff Sonia Melendez. Filing fee $ 605, receipt number
                               ANEDC−5259689. (Chaloupka, Maren) (Entered: 02/18/2025)
02/19/2025                99   NOTIFICATION OF APPEAL AND NOA SUPPLEMENT by Clerk
                               to USCA regarding Memorandum and Order 96 and Judgment 97 .
                               Notice of Appeal filed on 02/18/2025. (LRM) (Entered: 02/19/2025)




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


 SONIA MELENDEZ, Personal Representative of
 the Estate of Benjamin Melendez, Deceased;

                                                                           4:21CV3061
                                Plaintiff,


                 vs.
                                                             MEMORANDUM AND ORDER

 CITY OF GRAND ISLAND, a Nebraska political
 subdivision; JON ROSENLUND, in his
 individual and official capacity; BRANDON
 KELLEY, 911 Dispatcher #1, in his individual
 and official capacity; GRADY HIGGINS, 911
 Dispatcher #2, in her individual and official
 capacity; and DOES #1 - 10, in their individual
 and official capacities;


                                Defendants.



        This matter is before the Court on Defendants’ Motion for Summary Judgment. (Filing No.
 72.) For the reasons explained below, Defendants’ Motion for Summary Judgment will be granted.

                                              BACKGROUND

        Plaintiff, Sonia Melendez, as the Personal Representative of the Estate of Benjamin
 Melendez, brought this action against the City of Grand Island (City), Jon Rosenlund, the Director
 of Grand Island/Hall County Emergency Management, Brandon Kelley, and Grady Higgins, Public
 Safety (9-1-1) dispatchers for the City. (Filing No. 8; Filing No. 50.) Rosenlund, Kelley, and
 Higgins are sued individually and in their official capacities. (Filing No. 8; Filing No. 50.)
 Melendez alleged civil rights claims pursuant to 42 U.S.C. § 1983 for violation of the Fourteenth
 Amendment and failure to train and supervise the 9-1-1 dispatchers. (Filing No. 8.) Melendez
 does not contend the shooting was an unconstitutional or excessive use of force in violation of the

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 Fourth Amendment. (Filing No. 8.) According to Melendez, Kelley and Higgins created a special
 danger to Benjamin when they failed to provide critical information to the Grand Island police
 officers they dispatched to Benjamin’s address, and that failure resulted in Benjamin’s death after
 he stabbed a police officer, who then shot and killed Benjamin. (Filing No. 8 at 9-10.) Melendez
 also asserts the City and Rosenlund violated Benjamin’s Fourteenth Amendment rights by failing
 to properly train Kelley and Higgins. (Filing No. 8 at 11-12.) Defendants move for summary
 judgment on the ground that no constitutional violation occurred under the Fourteenth
 Amendment, which also entitles the individual defendants to qualified immunity. (Filing No. 74.)

                                        STATEMENT OF FACTS

        Benjamin Melendez was born in 1989 and grew up in Grand Island Nebraska. (Filing No.
 73 at 16.) Benjamin was assaulted in 2008, while attending college in Lincoln, and he suffered
 permanent brain injuries. (Filing No. 73 at 16.) After the assault, Benjamin never lived by himself
 and lived with his mother at 1520 St. Paul Road in Grand Island, Nebraska. (Filing No. 73 at 16.)
 Benjamin’s mother was appointed his legal guardian in 2012. (Filing No. 73. at 16.)

        After the assault and resulting injuries, Benjamin had multiple encounters with law
 enforcement. (Filing No. 73 at 17.) On March 13, 2019, Benjamin was upset and irate after a court
 appearance. (Filing No. 73. at 17.) Benjamin’s mother, who also attended the hearing, brought
 him home and left him alone for the remainder of the day. (Filing No. 73 at 17.) At approximately
 8:12 p.m., Benjamin called 9-1-1 and spoke to Kelley. (Filing No. 73 at 17.) During this call,
 Benjamin shouted, “step up to my home, and you’re dead.” (Filing No. 86 at 46.) After the call,
 Kelley dispatched Grand Island Police Department (GIPD) to report a male caller who was
 “’extremely irate [and] yelling’”; however, Kelley failed to mention Benjamin’s paranoia and
 threats. (Filing No. 86 at 44.)

        Grand Island Police Officers Ehlers and Herold responded to the dispatch. (Filing No. 8.)
 They knocked on the door at 1520 St. Paul Road, but Benjamin did not answer. (Filing No. 8.)
 Officers Ehlers and Herold waited for a brief time and then left without any contact from Benjamin.
 (Filing No. 8.)

        At approximately 8:46 p.m., Benjamin called 9-1-1 and spoke to Higgins. (Filing No. 86
 at 55.) After the call ended, Higgins advised his supervisor that Benjamin was “‘nuts.’” (Filing


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 No. 86 at 56.) He also sent a radio dispatch to GIPD to report a recall from a male who was
 “‘ranting again’” and saying, “‘something about bringing a knife out and stabbing somebody in
 his yard.’” (Filing No. 86 at 56.) Multiple officers responded to the dispatch, arriving on scene
 between 10:55 p.m. and 11:00 p.m. (Filing No. 86 at 60.) Benjamin opened the door armed with
 a knife and stabbed Officer Ehlers, who then shot and killed Benjamin. (Filing No. 86 at 60.)

        Kelley and Higgins did not use the “’10-90’” code to identify Benjamin as a ‘“mental
 subject’” in their dispatches to law enforcement. (Filing No. 86 at 11.) Plaintiff’s expert testified
 that the failure of Kelley and Higgins “to notify the responding officers of the clear and present
 threat to their safety caused both the death of Mr. Melendez and the substantial injury to Officer
 Ehlers. … This consultant is beyond appalled and deeply disturbed that Mr. Melendez lost his life
 due to the utter incompetence of these two employees.” (Filing No. 86 at 25.)

        The supervisor on duty at the time of Benjamin’s 9-1-1 call testified Kelley should have
 tried to calm Benjamin during the call as he had been trained. (Filing No. 86 at 41.) Rosenlund,
 who heard the call after the incident, admitted Benjamin’s raging threats represented a clear risk,
 and Kelley should have included that information to law enforcement. (Filing No. 86 at 48.) Officer
 Ehlers was not aware that Benjamin had ended his calls with threats of violence, and if he had
 known Benjamin ended his call with “’Step up to my home and you’re dead,’” he would not have
 approached the door. (Filing No. 86 at 60.)

        Rosenlund performs a variety of duties as the Director of Grand Island Emergency
 Management Department (Department). (Filing No. 73 at 3.) Rosenlund is responsible for training
 and supervising senior dispatchers in the Department. (Filing No. 73 at 3.) In addition to
 dispatching calls, senior dispatchers perform supervisory tasks such as completing call review
 forms, completing performance appraisals for dispatchers, training, coaching, and monitoring
 other dispatchers to ensure the policies of the Department are followed. (Filing No. 73 at 4.)

        Defendants presented evidence regarding the policies and training of the Department,
 which included the written training manuals that described the role of public safety dispatchers
 and the role of effective communication, the general operations of the Department, the important
 function of call taking, and the Reference Manual. (Filing No. 73 at 6-10.) Plaintiff did not dispute
 the statements on the policies and training but asserted the standards were inadequate. (Filing No.
 86 at 12-18.) According to Plaintiff’s expert, “[n]either Dispatcher Kelley or Dispatcher Grady

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 followed the Communications Center’s policies and procedures, to include KELLEY’s failure to
 advise responders of the caller shouting ‘step up to my home and you’re dead,’ and HIGGINS’
 failure to advise responders of the caller threatening, ‘if I hear a knock, I’m stabbing in the eyes.’”
 (Filing No. 86 at 18.)

                                                DISCUSSION

 Summary Judgment Standard

        Summary judgment is proper if the movant shows that there is no genuine dispute as to any
 material fact and that the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).
 “The movant bears the initial responsibility of informing the district court of the basis for its
 motion, and must identify those portions of the record which it believes demonstrate the absence
 of a genuine issue of material fact.” Torgerson v. City of Rochester, 643 F.3d 1031, 1042 (8th Cir.
 2011) (quotation omitted). If the movant does so, “the nonmovant must respond by submitting
 evidentiary materials that set out specific facts showing that there is a genuine issue for trial.” Id.

        “On a motion for summary judgment, facts must be viewed in the light most favorable to
 the nonmoving party only if there is a genuine dispute as to those facts.” Id. “Credibility
 determinations, the weighing of the evidence, and the drawing of legitimate inferences from the
 facts are jury functions, not those of a judge.” Id. However, the nonmovant “must do more than
 simply show that there is some metaphysical doubt as to the material facts.” Id. “In order to show
 that disputed facts are material, the party opposing summary judgment must cite to the relevant
 substantive law in identifying facts that might affect the outcome of the suit.” Quinn v. St. Louis
 Cty., 653 F.3d 745, 751 (8th Cir. 2011) (quotation omitted). “The mere existence of a scintilla of
 evidence in support of the nonmovant’s position will be insufficient; there must be evidence on
 which the jury could reasonably find for the nonmovant.” Barber v. C1 Truck Driver Training,
 LLC, 656 F.3d 782, 791-92 (8th Cir. 2011) (quotation omitted). “Where the record taken as a whole
 could not lead a rational trier of fact to find for the nonmoving party, there is no genuine issue for
 trial.” Torgerson, 643 F.3d at 1042 (quotation omitted).




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 42 U.S.C. § 1983 Claim

          Section 1983 imposes civil liability on any person who, “under color of any statute,
 ordinance, regulation, custom or usage of any State,” deprives an individual of “any rights,
 privileges, or immunities” secured by the United States Constitution. 42 U.S.C.A. § 1983. To
 survive summary judgment, a claim under § 1983 must raise a genuine issue of material fact as to
 whether 1) the defendant acted under color of state law, and 2) the alleged wrongful conduct
 deprived the plaintiff of a constitutionally protected right. See Schmidt v. City of Bella Villa, 557
 F.3d 564, 571 (8th Cir. 2009).

 Qualified Immunity

          Qualified immunity shields officials from civil liability in a § 1983 action when their
 conduct “does not violate clearly established statutory or constitutional rights of which a
 reasonable person would have known.” Morgan v. Robinson, 920 F.3d 521, 523 (8th Cir. 2019)
 (quotation omitted). “Qualified immunity analysis requires a two-step inquiry: (1) whether the
 facts shown by the plaintiff make out a violation of a constitutional or statutory right, and (2)
 whether that right was clearly established at the time of the defendant’s alleged misconduct.” Id.
 (quotation omitted). “Unless both of these questions are answered affirmatively, an appellant is
 entitled to qualified immunity.” Id. “[C]ourts are permitted to exercise their sound discretion in
 deciding which of the two prongs of the qualified immunity analysis should be addressed first.”
 Id.

          Melendez contends Benjamin’s Fourteenth Amendment rights to due process were violated
 by Kelley and Higgins’s failure to communicate critical information to the City’s police officers
 who were dispatched to Benjamin’s address following his 9-1-1 calls, and the City’s failure to
 properly train and supervise Kelley and Higgins. (Filing No. 8.) Defendants move for summary
 judgment on the ground that no constitutional violation occurred under the Fourteenth
 Amendment, which also entitles the individual defendants to qualified immunity. (Filing No. 74.)
 The Court agrees.




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 Substantive Due Process

 State-Created-Danger

        Generally, ‘“a State’s failure to protect an individual against private violence simply does
 not constitute a violation of the Due Process Clause.’” Villanueva v. City of Scottsbluff, 779 F.3d
 507, 512 (8th Cir. 2015) (quoting DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs, 489 U.S. 189,
 197, 109 S.Ct. 998 (1989)). “One exception to this principle is the ‘state-created-danger theory’
 under which ‘the state owes a duty to protect individuals if it created the danger to which the
 individuals are subjected.’” Villanueva, 779 F.3d at 512 (quoting Fields v. Abbott, 652 F.3d 886,
 890 (8th Cir. 2011)).

        Melendez relies on the state-created-danger theory of liability. To succeed on this theory,
 Melendez must prove: “(1) that [Benjamin] was a member of ‘a limited, precisely definable
 group,’ (2) that the [defendants’] conduct put [him] at a ‘significant risk of serious, immediate, and
 proximate harm,’ (3) that the risk was ‘obvious or known’ to the [defendants], (4) that the
 [defendants] ‘acted recklessly in conscious disregard of the risk,’ and (5) that in total, the
 [defendants’] conduct ‘shocks the conscious.’” Fields, 652 F.3d at 891 (quoting Hart v. City of
 Little Rock, 432 F.3d 801, 805 (8th Cir. 2005)). In analyzing the five Hart factors it is not necessary
 to examine all five factors if the evidence viewed in the light most favorable to the plaintiff shows
 the defendants’ conduct does not shock the conscience. See Estate of Johnson v. Weber, 785 F.3d
 267, 272 (8th Cir. 2015) (“We need not analyze all five Hart factors because we conclude, even
 viewing the facts in the light most favorable to Johnson, the defendants’ conduct did not shock the
 conscience.”).

        The fifth factor, conduct by the defendants that shocks the conscious, requires action that
 “must either be motivated by an intent to harm or,” deliberate indifference when deliberation is
 practical. Montgomery v. City of Ames, 749 F.3d 689, 695 (8th Cir. 2014). “Deliberate indifference
 requires both that the official ‘be aware of facts from which the inference could be drawn that a
 substantial risk of serious harm exists’ and that the official actually draw that inference. … Mere
 negligence, or even gross negligence, is not actionable.” Id. (quoting Hart, 432 F.3d at 805-06.)

        Under the state-created-danger theory, negligence and gross negligence cannot
        support a § 1983 claim alleging a violation of substantive due process . . . ‘Instead,
        actionable substantive due process claims involve a level of abuse and power so

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        brutal and offensive that they do not comport with traditional ideas of fair play and
        decency.’ ... ‘The test we employ to ascertain a valid substantive due process
        violation is whether the behavior of the governmental officer is so egregious, so
        outrageous, that it may fairly be said to shock the contemporary conscience.’

 Estate of Johnson, 785 F.3d at 272. See also Johnson v. City of Philadelphia, 975 F.3d 394, 402
 (3rd Cir. 2020) (9-1-1 operator’s failure to communicate decedents’ location and need of rescue
 insufficient to establish Fourteenth Amendment violation under state-created-danger theory.
 ‘“[T]he Due Process Clause is simply not implicated by a negligent act of an official causing
 unintended loss of or injury to life, liberty, or property.’” Daniels v. Williams, 474 U.S. 327, 328,
 106 S.Ct. 662, 88 L.Ed.2d 662 (1986)); Beltran v. City of El Paso, 367 F.3d 299, 308 (5th Cir.
 2004) (9-1-1 operator’s mishandling of emergency call did not create a dangerous situation
 sufficient to establish liability for Fourteenth Amendment violation under state-created-danger
 theory as errors constituted negligence not deliberate indifference. “In the absence of a violation
 of a clearly established constitutional right, [9-1-1 operator] entitled to qualified immunity as a
 matter of law.”).

        In the case at bar, the Complaint alleges the individual defendants created a special danger
 to Benjamin that deprived him of his constitutional rights. (Filing No. 8 at 10.) The evidence
 offered to support the allegations consists of failures by Kelley and Higgins to follow procedures
 in how they communicated with Benjamin during the calls, and their failure to provide details to
 the officers who were dispatched to Benjamin’s location. (Filing No. 86.) According to Melendez,
 the alleged failures led to Benjamin getting shot by Officer Ehlers who responded to the 9-1-1
 dispatch. (Filing No. 8.)

        Defendants argue summary judgment is proper in this case because Melendez’s claim and
 evidence supporting it centers on Kelley and Higgins’s failure to follow procedures in their
 communications with Benjamin and failure to provide necessary information to the Grand Island
 Police Officers who responded to the dispatches, which is insufficient to establish a constitutional
 violation. (Filing No. 74.) Thus, Defendants’ argument follows that because Melendez has not
 presented any evidence to establish Benjamin’s Fourteenth Amendment rights were violated by
 Kelley and Higgins’s handling of Benjamin’s 9-1-1 calls, they are entitled to qualified immunity
 on the claims asserted against them by Melendez. (Filing No. 74.)


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        The record in this action is insufficient to establish liability for a Fourteenth Amendment
 violation under the state-created-danger theory as the alleged errors by Kelley and Higgins
 constitute negligence, not deliberate indifference. “Under the state-created-danger theory,
 negligence and gross negligence cannot support a § 1983 claim alleging a violation of substantive
 due process.” Estate of Johnson, 785 F.3d at 272. Because the evidence when viewed in the light
 most favorable to Melendez shows the conduct of Kelley and Higgins does not shock the
 conscience, Melendez’s Fourteenth Amendment substantive due process claim against Kelley and
 Higgins fails to survive summary judgment. Accordingly, it is not necessary for the Court to
 address the other Hart factors.

        Kelley and Higgins are entitled to qualified immunity because the first prong of the
 qualified immunity test is not satisfied where the Court rules that there was no underlying
 constitutional violation by Kelley and Higgins under the Fourteenth Amendment. The Court need
 not, and does not, reach the clearly established prong of the qualified immunity analysis. See Bulfin
 v. Rainwater, 104 F.4th 1032, 1038 (8th Cir. 2024) (“If we conclude that the alleged facts do not
 violate a constitutional right, then we need not address the inquiry [whether the right was clearly
 established], and the defendant[s] will be entitled to qualified immunity.”) (quoting Ryno v. City
 of Waynesville, 58 F.4th 995, 1005 (8th Cir. 2023)).

 Failure to Train/Supervise

        Melendez asserts supervisory claims against Rosenlund. (Filing No. 8.) “Government
 officials are personally liable only for their own misconduct.” S.M. v. Kringbaum, 808 F.3d 335,
 340 (8th Cir. 2015). “When a claim is premised on the conduct of subordinates, a supervisor may
 be liable only upon a showing” that the subordinates’ conduct was a clearly established violation
 of the Fourteenth Amendment right to due process. Dundon v. Kirchmeier, 85 F.4th 1250, 1258 (8th
 Cir. 2023). Given the above ruling that the evidence does not establish Kelley and Higgins violated
 Benjamin’s Fourteenth Amendment rights under the state-created-danger theory, there can be no
 liability against Rosenlund in his supervisory role.

        Melendez seeks to hold the City of Grand Island liable for the actions of Kelley, Higgins,
 and Rosenlund in their official capacities. (Filing No. 8.) A city may be liable under 42 U.S.C.A.
 § 1983 “if [an] employee has not been adequately trained and [a] constitutional wrong has been


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 caused by that failure to train.” City of Canton v. Harris, 489 U.S. 378, 387, 109 S.Ct. 1197, 103
 L.Ed. 2d 412 (1989).

           “It is well established that ‘there must be an unconstitutional act by a municipal employee
 before a municipality can be held liable’” in a § 1983 action. Jones v. City of St. Louis, 104 F.4th
 1043, 1051 (8th Cir. 2024) (quoting Muir v. Decatur County, 917 F.3d 1050, 1058 (8th Cir. 2019)).
 See also Montgomery v. City of Ames, 749 F.3d at 696. (“City … is liable in a § 1983 suit only if
 an individual city employee committed a constitutional violation pursuant to an official custom,
 policy, or practice.”). Thus, the finding that Melendez has failed to establish a constitutional
 violation by any of the City employees, precludes the imposition of any municipal liability in this
 action.

 Conclusion

           Viewing the facts in the light most favorable to Melendez, Plaintiff has failed to establish
 the individual defendants violated Benjamin’s right to substantive due process under the state-
 created-danger theory. The evidence establishes negligence at best, not behavior so egregious or
 outrageous, that it may fairly be said to shock the conscience; therefore, Defendants are entitled to
 summary judgment. Because the evidence is insufficient to show a constitutional violation, Kelley,
 Higgins, and Rosenlund are also entitled to qualified immunity and summary judgment on that
 ground. Since Melendez cannot establish a constitutional violation by any of the individual
 defendants, the City of Grand Island is also entitled to summary judgment.

           Accordingly,

           IT IS ORDERED that Defendants’ Motion for Summary Judgment (Filing No. 72) is
 granted. Judgment will be entered by a separate order.

           Dated this 13th day of February, 2025.


                                                                BY THE COURT:


                                                                _______________________
                                                                Susan M. Bazis
                                                                United States District Judge


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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


 SONIA MELENDEZ, Personal Representative
 of the Estate of Benjamin Melendez, Deceased;

                                                                        4:21CV3061
                              Plaintiff,


               vs.
                                                                        JUDGMENT

 CITY OF GRAND ISLAND, a Nebraska
 political subdivision; JON ROSENLUND, in his
 individual and official capacity; BRANDON
 KELLEY, 911 Dispatcher #1, in his individual
 and official capacity; GRADY HIGGINS, 911
 Dispatcher #2, in her individual and official
 capacity; and DOES #1 - 10, in their individual
 and official capacities;


                              Defendants.



        In accordance with the Memorandum and Order entered on today’s date, judgment is
 hereby entered in favor of Defendants and against Plaintiff.     This case is dismissed with
 prejudice.

        Dated this 13th day of February, 2025.


                                                           BY THE COURT:


                                                           _______________________
                                                           Susan M. Bazis
                                                           United States District Judge




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

  SONIA MELENDEZ, Personal
  Representative of the Estate of                              Case No. 4:21-cv-3061
  BENJAMIN MELENDEZ, Deceased,

                                    Plaintiff,

  vs.
                                                              NOTICE OF APPEAL
  CITY OF GRAND ISLAND, a Nebraska
  political subdivision, JON ROSENLUND, in
  his individual and official capacity,
  BRANDON KELLEY, in his individual and
  official capacity; and GRADY HIGGINS, in his
  individual and official capacity,

                                    Defendants.


        Sonia Melendez, Personal Representative of the Estate of Benjamin Melendez, Deceased,

 Plaintiff in the above-captioned matter, gives notice of her intent to appeal to the United States

 Court of Appeals for the Eighth Circuit from the Memorandum and Order granting Defendants’

 Motion for Summary Judgment (Doc. #96) and the District Court’s Final Judgment (Doc. #97).



                                                    SONIA MELENDEZ, Personal Representative
                                                    of the Estate of BENJAMIN MELENDEZ,
                                                    Deceased , Plaintiff,


                                                    By: /s/ Maren Lynn Chaloupka
                                                    Maren Lynn Chaloupka, NSBA # 20864
                                                    Chaloupka Law LLC
                                                    1906 Broadway
                                                    Post Office Box 1724
                                                    Scottsbluff, NE 69363-1724
                                                    (308) 270-5091
                                                    mlc@chaloupkalaw.net




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                                 CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true and accurate copy of the foregoing instrument
 has been sent via CM/ECF on this 18th day of February 2025, to the following:
        Randall L. Goyette
        Christopher M. Schmidt
        Baylor Evnen Wolfe & Tannehill, LLP
        Union Bank Place
        1248 O Street, Suite 900
        Lincoln, NE 68508
        rgoyette@baylorevnen.com
        cschmidt@baylorevnen.com

                                                       /s/ Maren Lynn Chaloupka




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                      U. S. COURT OF APPEALS - EIGHTH CIRCUIT
                        NOTICE OF APPEAL (NOA) SUPPLEMENT
                               DISTRICT OF NEBRASKA

 Please note any additions or deletions to the style of the case from the style listed on the
 docket sheet (or attach an amended docket sheet with the final style of case)

  Caption:                                  Case Number:
   Melendez v. City of Grand Island et al   4:21cv3061-SMB-RCC

 Appellant:
  Sonia Melendez
 Attorney(s):
   Maren L. Chaloupka
   CHALOUPKA LAW FIRM
   P.O. Box 1724
   Scottsbluff, NE 69363
   308-270-5091
 Appellee:
  City of Grand Island; Jon Rosenlund;
  Brandon Kelley; Grady Higgins
 Attorney(s):
   Christopher M. Schmidt
   Randall L. Goyette
   BAYLOR, EVNEN, WOLFE LAW FIRM
   1248 O Street
   Suite 900
   Lincoln, NE 68508-1424
   402-475-1075
 Court Reporter(s):
  NA
 Please return files and documents to:
   Lincoln
 Person to contact about the appeal:
  Deputy Clerk

 Length of Trial          Fee                    IFP                      Pending IFP
   NA                      Y                      N                        N

 Counsel                  Pending Motions        Local Interest           Simultaneous Release?
   Retained                N                       N                       N




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 Criminal Cases/Prisoner Pro Se Cases only:
 Is defendant incarcerated? NA
 Where?       NA

 Please list all other defendants in this case if there were multiple defendants
   NA
 Special Comments:

                                                                Forms-Appeal-NOA_Supplement
                                                                       Approved Date: 12/22/14




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